Case 1:15-cV-00176-RP Document 1 Filed 03/02/15 Page 1 of 21

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISI()N
KEITH A. DZIERZAN()WSKI and §
HOLLY M. DZIERZANOWSKI §
Plaintiffs §
§
VS. § CIVIL ACTION NO. 1:15~cv~176
§
§
STATE FARM LLOYDS §
Defendant. § JURY

DEFENDANT STATE FARM LLOYDS’
N()TICE OF REMOVAL

 

Defendant State Farrn Lloyds (“State Farm”) files this Notice of Removal pursuant to 28
U.S.C. §§ 1332, 1441, and 1446 as follows:

I. Procedural Background

 

l. On January 30, 2015, Plaintiffs Keith A. Dzierzanowski and Holly M.
Dzierzanowski (“Plaintiffs”) filed their Original Petition and initiated an action against State
Farm in the 335th Judieial District Court of Bastrop County, Texas, bearing Cause No. 014-335
(“the State Court Aotion”). Exhibit A. There Was a jury demand in the State Court Action. [d.

2. On February 6, 2015, State Farrn Was Served With Plaintiffs’ Original Petition and
Citation in the State Court Action. Exhibit A.

3. State Farrn filed its Original Answer, Special Exceptions, Affirrnative Defenses,
and Jury Demand in the State Court Action on February 27, 2015. Exhibit B.

4. This Notice of Removal is filed Within the 30-day statutory time period for

removal, 28 U.S.C. § 1446(b).

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II. Nature of Suit

5. This lawsuit involves an insurance coverage dispute regarding alleged damage to
Plaintiffs’ residence at 142 Cattlemans Drive, Bastrop County, Texas. State Farrn investigated
the claim and paid Plaintiffs for their smoke damage claim. Plaintiffs now bring suit against
State Farm, their homeowners’ insurer for breach of the insurance contract, violations of the
Texas lnsurance Code, and breach of the duty of good faith and fair dealing. Exhibit A.

III. Basis for Removal

6. This Court has original jurisdiction under 28 U.S.C. § 1332 over this civil action,
and the action may be removed by State Farm pursuant to 28 U.S.C. § 1441(b), as it is a civil
action between citizens of different states, and the matter in controversy exceeds the sum of
875,000.00, exclusive of interest and costs.

7. Upon information and belief, Plaintiffs were, at the time this action was
commenced, and still are citizens of the State of Texas. Plaintiffs’ Original Petition states that
Plaintiffs are residents of Texas. Exhibit A.

8. Defendant State Farm was, at the time this civil action was commenced, and still
is, a citizen of the state of lllinois. State Farm is a “Lloyd’s Plan” organized under Chapter 941
of the Texas Insurance Code. lt consists of an association of underwriters who, at the time this
civil action was commenced, were, and still are, citizens and residents of the state of Illinois,
making State F arm Lloyds a citizen and resident of the state of lllinois for diversity purposesl

9. Although Plaintiffs’ Griginal Petition is silent as to the amount of actual damages

Plaintiff seeks in this action, as stated above in paragraph 5, this is an alleged insurance “bad

 

1 See Royal lns. C0. of Am. v, Quz`nn-L Capz`lal Corp., 3 F,3d 877, 882 (Sth Cir. 1993).

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faith” case in which Plaintiff`s seek damages for State Farm’s alleged wrongful handling and
insufficient payment of Plaintiffs’ claim.

10. When a Plaintiffs’ pleading does not allege a specific amount of damages, the
removing party Defendant must only prove by a preponderance of the evidence that the amount
in controversy exceeds 875,000.002. Given the nature of Plaintiff`s’ claims against State Farm
and Plaintiffs’ various claims for damages, the alleged damages in this action appear to clearly
exceed $75,000.00, exclusive of interest and costs.3

11. Because the amount in controversy exceeds 875,000.00, this Court has subject
matter jurisdiction under 28 U.S.C. § 1332 and this removal action is proper.

12. Pursuant to 28 U.S.C. § l446(a), State Farm has filed with this Notice of Removal
a complete copy of the State Court’s file, including copies of all process, pleadings, orders and
docket sheet in the State Court Action as identified on the lndex of Matters Being Filed.

13. Pursuant to 28 U.S.C. § 1446(d), State Farm has filed a copy of this Notice of
Removal with the clerk of court in the State Court Action, and has given notice thereof to all
adverse parties.

IV. Conclusion and Prayer

l4. The basis for this removal and this Court’s jurisdiction is diversity of citizenship
28 U.S.C. § 1332. Plaintiffs are citizens of Texas. State F arm is a citizen of Illinois. The amount
in controversy, based on the allegations in Plaintiffs’ Original Petition, exceeds $75,000.00,
exclusive of interest and costs. As such, this removal action is proper. On these grounds, State

Farm hereby removes the referenced State Court Action to this Court.

 

2 See DeAguizar v. Boezng CO., ii F.zd 55, 58 (5th cir. 1993); Chzm'ck v. Fm~mers rns. Exch., 844
F. supp. 1153, 1155 (s.n. rex. 1994).
3 See Chz'ttz'ck v. Farmers [ns. Exch., 844 F. Supp. 1153, 1155 (S.D. Tex. 1994).

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15. State Farm demanded a jury in the State Court Action, and demands a jury in this
action.

WHEREFORE, Defendant State Farm Lloyds respectfully requests that the above-
entitled action be removed from the 335th Judicial District Court of Bastrop County, Texas to the
United States District Court for the Western District of Texas, Austin Division.

Respectfully submitted,
WRIGHT & GREENHILL, P.C.
221 West 6th Street, Suite 1800
Austin, Texas 78701

512/476-4600
5 12/476-53 82 (Fax)

Richard W. South
state Bar No. 18863175
r§giit_li@n:g__r:nni

By:

 

ATTORNEYS FOR DEFENDANT

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of Defendant State Farm Lloyds’ Notice of
Removal has been forwarded via facsimile on this the 2nd day of l\/Iarch, 2015 to:

David C. Wenholz

The Wenholz Law Firm, PLLC
13501 Galleria Circle

Suite W270

Bee Cave, Texas '78'738

(512) 478-2211

(512) 478-3625 FAX

 

 

Richard W. South

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Exhibit ”A"

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Sarah Loucks, District Clerk
P.O. Box 770 §SEB 1 0 w§§

804 Pecan Street
Annex Building, Lower Level §§§§:§:§)§CY§W§

Bastrop, TX 78602
THE STATE OF TEXAS

NOTICE TO DEFENDANT: “You have been sued. You may employ an attorneyl lf` you or your attorney do not file a
written answer with the clerk who issued this citation by IO:OO a.m. on the Monday next following the expiration of

twenty days afier you were served this citation and petition, a default judgment may be taken againsw)§ F` y
." \
chi \/ED

to sTATE FARM LLoYDs
MAY ss sERvED wrrn PRocEss Bv sERviNo irs REGISTERED AGsNr, »~»- M
annot BLAci< c/o srArE FARM " £“~B l 'Qzet§
mci PREsToN izvo ..

DALLAS, Tx 75252~5727, Defendant Tl__ RG

GREET!NGS: You are commanded to appear by filing a written answer to the Petition of Petitioner at or before
10:00 o’clock a.rn. ofthe Monday next after the expiration of 20 days after the date of service hereof, before the 335111

District Court of Texas, at the courthouse in BASTROP, Texas.

:A copy of the Petition of the Petitioner accompanies this citation, in cause number 014-335 styled:

ksirn A. DziERzANowski
AND HOLLY M.
ozrstANowsi<i

v.

srArE FARM proves

filed in said court on the on this the 30th day of lanuary, 2015

Petitioner is represented by:

DAVID C. WENHOLZ
l350l GALLER!A CIRCLE
STE.W270

BEE CAVE, 'I`X 78738
lSSUED AND GIVEN UNDER MY l-lAND AND SEAL of said Court at office in Bastrop, Texas, this the an day cf
February, 2015

Sarali l.oulcl<s
DistrictC Bastrop County

P..O Bo '13,70

BastroV/,Z flex \~z/CHQ(:{ ©{/V\L:__
Deputy

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Case 1:15-cV-00176-RP Document 1 Filed 03/02/15 Page 9 of 21

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Sarah Loucks, Dlstrict Clerk

Bastrop County, Texoz

By: lrene Berreoo, Deputy

014-33
Cause No. 5
KEITH A. DZIERZANOWSKI § IN THE DrsTRrCr cooRT
AND HOLLY M. §
DZIBRZANOWSKI § %z§i’l/~
§ ,___W___mroorctAL orsrth'r
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V. §
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STATE FARM LLOYDS § BASTRCJP COUNTY, TEXAS

PLAINTIFFS‘ ORIGINAL PETITION AND REOUEST FOR DISCLOSURE
COMES NOW, Keith A. Dzierzanowski and Holly M. Dzierzanowskl (hereinafter
referred to as "l’laintiil"s") and files this their Original Pctition. Request for Disclosure
complaining of STATE FARM LLOYDS ("STATE FARM") and for causes of action would

show as follows:

l.
DlSCOVERY CONTROL PLAN

l. Plaintii`fs intend for discovery in this case to be controlled by Tcx.R.Civ.P. l 90.4

(Level 3).

ll.
JURISDICTION AND VENUE

2. This is a suit based on breach cf contract, torts and statutory violations relating to an
insurance claim Plaintiffs filed for damages to their home, which is located in Bastrop County,
Text\s. Bastrop County is where all or a substantial part of the events or omissions giving rise to
the claim occurred. Venue is also appropriate under §?.2!0.552 of the Tex. lns. Code.

3. 'l`he amount in controversy exceeds the minimum jurisdictional limits ol` this Court.

’l"hc Court also possesses subject matterjurisciiction over all causes of action and claims for relief

stated herein.

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ll.l.
PARTIES

4. The Plaintit`fs are residents of Montgomery County, Texas.
5. DefendantSTATE FARM is a domestic company doing business in Texas and
may be served with process by serving its registered agent, chdi Blacl< C/O State l~`arm 17301

Preston Road. Dallas, 'l`exas 75252~5727.

IV.
FACTS

6. Plaintiffs owned a home located at 142 Cattlemans Dr, Bastrop, Texas 78602. in
order to protect the horne from damage, Plaintifi`s purchased insurance policy no. 83~BR~H672-3
t`rom ST/\'I`E i"/\.RM. The insurance policy was effective on September<l~§, 201 l when the
Plaintifis’ horne sustained damage from the Bastrop County Complcx i`ire. Plairitit`fs’ dwelling was
in good condition prior to the loss.

7. As a result of the fire, Plaintiff`s discovered their home sustained significant
damage during the policy period(s) and a claim was immediately reported to S'I`ATE FARM.
Plaintit`f`s satisfied all conditions precedent under the policy and under common law before
bringing this action Thc losses and damages includc, but arc not limited to, structures. personal
property and additional living expenses 'l`he losses sustained were the type the Plaintifl`s
sought to insure against After Plaintift`s reported the loss, Defendant STATE FARM,
investigated the loss and paid the Plaintiff’s structure iimits. However, they delayed and
underpaid the personal property contents portion of the claim. lvioreover, Defendant
wrongfully withheld recoverable depreciation from Plaintift` when Plaintit`t"s purchased contents
and submitted their receipts Moreover, when the Plaintii’t`s turned in the receipts For the new

items they purchased after the tire, rather than paying them full priee, State Farm withheld

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depreciation and only paid ACV for the new items

8. Plaintit"t°s, therefore assert that Defendant breached its duty of good faith and fair
dealing by failing to compensate Plaintiffs for all damages that the Plaintift`s sustained from the
covered loss, when it was reasonably apparent that the damages were owed by STATE PARM.

V.
BREACH OP DUTY OF GOOD FAITH AND PAIR DEA'l,lNG

9. At all times since ST/\TE FARM issued Plaintit`ts’ policy of insurance covering
Plaintil`t`s‘ home and property, Defendant l<new, or should have lotown, Plaintiffs were insured
under a policy ot` insurance issued by thcm. S'l`A'l`E l?ARlvt issued said policy to Plaintil`ts and
cwed Plaintifi`s a duty ot` good l`aith and fair dealing and a duty to exercise ordinary care in the
renewing of their poliey, handling of Plaintiffs’ elairn, the investigation of Plaintil`t`s‘ claim, the
payment of Plaintit`fs' claim and the adjustment of Plaintiffs' losses. STATE FARM further owed
Plaintii`t`s a duty to timely pay for all covered losses

l0. S'l`A'l"E FARM breached its duties ot` good faith and Fair dealing owed Plaintiffs
under the contract and under the common law as stated herein. As a direct proximate cause of
Defendant's negligent and/or intentional acts and/or omissions, which constitute breach of the
duty of good faith and fair dealing, Plaintiffs have suffered damages For which they now sue.

ll. Plaintil"l`s incorporate by reference all other allegations contained herein
which amount to and constitute breach ot` the duty of good faith and l'air dealing imposed

upon S'l`A"l`lI l"ARl\/t as a matter ot` law.

Vi.
iNSURANCE CODE VIOLATIONS

l2. Pleading further upon information and belief, S'l`ATE FARM engaged in unfair

and/or deceptive acts and/or practices in the business of insurance, in violation of the Texas

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insurance Code, by violating these statutes and such constitutes a violation oi` the DTPA.

Defendant further violated Tex. Ins. Code article §541.001 - 542.051 et seq. said acts and/or

practices are the proximate and/or producing cause of Plaintiffs’ damages for which they now

SU€.

13. Defendant has engaged in unfair settlement claims practices by misrepresenting
to the Plaintit"i`s a material fact or policy provision relating to the coverages at issue.

14, As a proximate, producing cause of Defendant‘s acts, errors and/or omissions,
Plaintifi`s have suffered damages for which they now sue. Defendant‘s acts, errors and/or
omissions were committed knowingly with actual awareness of the falsity, unfairness or
deception of the act(s) or practice(s) complained of above Therefore, Plaintiffs request the
Court award tliein, in addition to the actual damages set fotth herein, statutory damages, pursuant
to the 'l`exas Insurance Code, as well as their reasonable and necessary attorneys fees and costs
Alternatively, Plaintif`i`s seek punitive damages in order to punish the Defendant from treating
other policyholders in the same or similar fashion Additionally, Plalntii‘fs request the Court
award damages pursuant to Artioie 542.060 of the Texas insurance Code.

VII.
DECF`.PTIVE TRADE PRACTICES ACT VIOLATIONS

lS. At all times material and relevant hcreto, Plalntit`i`s were "consutners" as that
term is defined in the Texas Dcceptive ’l`rade Practices~Consumet‘ Protection Act, ("DTPA")
'I`ex. Bus. & Cc)rn. Code sec. 17.45(4). Plaintiffs sought "services" from Defendant as that
term is defined in Tex. Btts. & Corn. Code sec. 17.45(2). At all times relevant hereto,

Defendant was en a ed in "trade" and "commerce“ ns those terms are defined in Tex,
g

Bus. & Cot‘n. Code sec. l 7.45(6).

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16. T he acts, errors and/or omissions committed by Defendant as described herein
violated the DTPA and were false, misleading and/or deceptive acts and/or practices as

described above and committed as tbllows:

(l) representing that goods or services are of a particular standard, quality or

grade when they arc of another;
(2) causing confusion or misunderstanding as to the source, sponsorship, approval

or certification of goods or services;
(3) causing confusion or misunderstanding as to the af`iiliation, connection or

association with goods or services;
(4) representing that goods or services have sponsorship, approval, characteristics
ingredients, uses, benefits, or qualities which they do not have or that a person has
a sponsorship, approval, status, affiliation or connection which he does not have;
(5) representing that an agreement confers or involves rights, remedies, or
obligations which it docs not have or involvc, or which are prohibited by law.

l7. Defendant’s conduct also violates §§l'/.SO(a)(3),(4) of the D’l`i’A. Additionally,
the acts, errors and/or omissions referred to above were in fact a producing and/or proximate cause
ofdamage to Plaintill"s. The above acts, errors and/or omissions were committed by the Defendant
both "knowingly" and intentionally as those terms are defined by Tcx. Bus. & Corn. Code
scc.l7.45(9). Accordingly, Plaintiff`s request the Court award, in addition to economic
damagcs, three times thc amount ol` economic damagesl Plaintift`s further requests the Court award

court costs and reasonable and necessary attorneys fees.

VIll.
NEGLIGENCE/NEGLIGENT l\/llSREPRESENTATION

l8. Plaintii`l"s allege that Defendant owed them a duty to exercise ordinary care in
performing insurance related services they provided Defendant breached this duty and

proximately caused harm to the Plaintii`i`s l"or which they now sue. Plaintit`fs also allege that
Defendant made representations in the course oi` its business or in a transaction in which they had

a pecuniary interest The representation presented and supplied false information i`or the

Plaintift`s’ guidance and Defendant did not exercise reasonable care or competence in obtaining

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Or communicating the information to the Plar`ntiffs. Plaintift`s relied on the representations to

their detriment and were injured

lX.
DAMAGES

19. Plaintiffs have suffered actual damages in an amount that exceeds the minimum
jurisdictional limits of this Court. Aecordingly, Plairrtifl`s request that thcjury award them a fair
amount under thc circumstances for the damages

20. Plaintifi`s have incurred additional and consequential damages

21. Plaintiff`s have been required to retain the undersigned attorney to prosecute

this lawsuit and have thereby incurred reasonable and necessary attorneys' fees and costs for
which they now sue.

22. Plaintifi`s request the Court award pre-judgment and post-judgment interestl

23. Plaintif‘l`s request that statutory damages be awarded under the DTPA and the
Te)tas lnsurance Code.

24. Exemplat'y damages to punish and deter the Defendant l'or‘ its actions

X|
DlSCGVERY

25. Plaintiffs request pursuant to Rule 194 of` the Tcxas Rulcs of Civil Pr'ocedure,
that you disclose, within 50 days oi' service ot` this request, thc information or material

described in Rule 194.2(3) -(i), (k), (l).

Xi.
JURY DEMAND

26. Plaintifi`s demand a trial by jury in accordance with the Texas Rules oi` Civil

Procedure and Evidence and the Constitution of the United States oi` Arnerica and the Texas

Constitution.

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WHEREFORE, PREMISES CONSIDERED, Plaintif`fs pray that the Defendant be
cited to appear and answer herein; that upon final hearing, this Court and jury grant the relief
sought herein and that Plainrifl`s obtain ajudgment against the Defendant and that Plaintit`fs be

granted such othel'ariti fulther relief, both general and special, legal and equitable, to which

Plaintiffs may show themselves justly entitled

Respectfully submitted,

THEW 110L LAWFiRMPLLC

7 IA(
David C Wenl 1012
"lexas Bar No. 21176350

13501 Galleria Circle
Ste, W270
Bee Cave, TX 78738

ATTORNEY FOR P LAINTIFFS

Case 1:15-CV-00176-RP Document 1 Filed 03/02/15 Page 16 of 21

E><hibit ”B”

Case 1:15-Cv-00176-RP Documentl Filed 03/02/15 Pa%t|e 17.0}1°l 2[:1d2/27/2015124707PM
€C l`Ol'l|Cay le § I

Sarah Loucl<s, District C|erk
Bastrop County, Texas
By: Terri Hocker, Deputy

CAUSB NO. 014-335

KEITH A. DZIERZANOWSKI and § 1N THE Drs'rRicT CoURT
HOLLY M. DZIERZANoWsKI §
§
vs. § 335TH JUDICIAL DISTRICT
§
§
sTATE FARM LLoYDs § BAsTRoP CoUNTY, TEXAS

DEFENDANT STATE FARM LLOYI)S’
ORIGINAL ANSWER TO PLAIN'I`IFFS’ ORIGINAL PETITION

 

TO THE HON()RABLE JUDGE OF THIS COURT:
Defendant State F arm Lloyds (“State Farm”) Without waiving any of its defenses, files its
Original Answer and respectfully shows the Court as follows:
General Dem'al
l. Pursuant to Rule 92 of the Texas Rules of Civil Procedure, State Farm hereby
exercises its right to require Plaintiffs to prove their allegations by a preponderance of the
credible evidence
Ajyirmative Defenses
2. In addition to and Without waiving any of the foregoing, Defendant asserts the
following matters as affirmative defenses to Plaintiffs’ claims:
a. Plaintiffs failed to mitigate their loss.
b. Any award to Plaintiffs must be offset by all prior payments made by State
Farm to Plaintiffs for replacement, repair, and additional living expenses

(¢¢ALE$?).

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3.

Plaintiffs’ damages, if any, must be offset by the amount of the applicable
policy deductibles.

Plaintiffs’ actual damages, if any, must be limited by the amount set forth
in the policy limitations provisions of their policy.

Any award of exemplary damages must be limited in accordance with the
provisions of Texas Civil Practices & Remedies Code § 41.008.

Plaintiffs’ claims for punitive damages against Defendant cannot be
sustained because under Texas law, an award of punitive damages without
proof of every element beyond a reasonable doubt would violate
Defendant’s rights under Amendments IV, V, VI, and XIV of the United
States Constitution and under Sections 9, 10, 14, and 19 of Article l of the
Texas Constitution.

Plaintiffs’ claim for punitive damages against Defendant cannot be
sustained, because an award of punitive damages under Texas law for the
purposes of compensating Plaintiff for elements of damages not otherwise
recognized by Texas law would violate Defendant’s due process rights
guaranteed by the Fourteenth Amendment to the United States
Constitution and by Section 19 of Article l of the Texas Constitution.

Jury Demaml

Defendant tenders the statutory jury fee and demands a jury trial in this cause.

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Prayer
4. WHEREFORE, Defendant prays:
a. That Plaintiffs recover nothing of and from State Farm go hence without delay
with all costs of court; and
b. That State Farrn be granted such other and further relief to which it shows itself

justly entitled

Respectfully submitted,

WRIGHT & GREENHILL, P.C.
221 West 6th Street, Suite 1800
Austin, Texas 78701
512/476-4600

512/476-5382 (Fax)

 

By:

 

Richard W. South
State Bar No. 18863175

._,_1__.__`=., _,s.,_ _,_.____.,._

ATTORNEYS FOR DEFENDANT
STATE FARM LLOYDS

Case 1:15-cv-00176-RP Document 1 Filed 03/02/15 Page 20 of 21

CERTIFICATE OF SERVICE

 

l hereby certify that a true and correct copy of the foregoing has been sent by facsimile to
the counsel listed below, in accordance with the Texas Rules of Civil Procedure, on this 27th day
of February, 2015 .

David C. Wenholz

The Wenholz Law Firm, PLLC
13501 Galleria Circle

Suite W270

Bee Cave, Texas 78738

(512) 478-221l

(512) 478-3625 FAX

 

 

Richard W. South

Case 1:15-cv-0017e-RP Documen11 Filed 03/02/15 Page 21 of 21 3/2/15' 1112 AM

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KE|TH A. DZ|ERZANOWSK| AND HOLLY M. DZ|ERZANOWSK| V. STATE

REGISTER oF ACTIoNS
CAsF. No. 014-335

FARM LLOYDS

Case Type: Civil Case - Other
Date Filed: 01/30/2015
Location: 335th District Court

F.OJCO'>CO'!CG'KM

 

Defendant

Plaintiff

P|aintiff

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02/02/2015

 

STATE FARM LLOYDS

DZlERZANOWSKl, HOLLY M.

Dzierzanowski, Keith A.

PARTY INFoRMATioN
Attorneys

DAVlD C. WENHOLZ
Retained
512-478~2211(W)

DAVlD C. WENHOLZ
Reta/'ned
512-478-2211(W)

EVENTS & ORDERS or THE CouRT

OTHER EVENTS AND HEARINGS

Original Petition (OCA)
Jury Request
Case lnformation Sheet
Jury Fee Paid
Citation
Citation
STATE FARM LLOYDS
Other/Misc
Answer
Jury Request
Jury Fee Paid

Defendant STATE FARM LLOYDS
Tota| Financial Assessment

Total Payments and Credits
Balance Due as of 03/02/2015

Transaetion Assessment
EFile Payment Receipt # 2015~18435

Plaintiff Dzierzanowsl<i, Keith A.
Total Financia| Assessment
To'tal Payrnents and Credits
Balance Due as of 03/02/2015

Transaction Assessment
EFile Payment Receipt # 2015-18118

 

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Served 02/10/2015

FiNANclAL INFoRMATioN

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STATE FARM LLOYDS (30.00)

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Page 1 of 1

